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 A0 91(Rev.08/09) CriminalComplaint

                                  U NITED STATES D ISTRICT C OURT
                                                          forthe
                                               Southern DistrictofFlorida

                  United StatesofAmerica
                             V.
                    Vinh Sanh Nguyen                              CaseNo. 20-6101-SNOW




                                               CRIM INAL COM PLAINT
         1,the complainantinthiscase,statethatthefollowing istrueto thebestofmy knowledgeand belief.
Onoraboutthedatets)of                     9/24/2019             inthecountyof                Broward           inthe
   Southern    Districtof                Florida        ,thedefendantts)violated:
          CodeSection                                                 OffenseDescri
                                                                                  ption
Title 18,United States Code,              Knowing possessionorknowing accesswi
                                                                             th intentto view , one (1)ormore
                                          b
 Sections2252(a)(4)(B)                     ooks,magazines,periodicals,films,videotajes,orothermatterwhich
                                          contain any visualdepictionthathas been mal led,orhas been shipped or
                                          transpoded using any means orfacilityofinterstate orforeign commerce orin
                                          oraffecting interstate orforeign commerce,orwhich wasproduced using
                                          materialswhich have been mailed orso shipped ortranspoded, byany
                                          meansincludingbycomputer,i
                                                                   f(i)theproducingofsuchvisualdepicti
                                                                                                     on
                                          involvesthe use ofa minorengaging in sexually explicitconduct,'and (i
                                                                                                              i)
                                          such visualdepiction is ofsuch conduct.
        Thiscriminalcomplaintisbased on these facts:

See attached Affidavit.



        V Continuedontheattachedsheet.
                                                                                               *


                                                                                  Complainant'
                                                                                             ssignature

                                                                       Lee Bieber,Plantation Police Dept., TFO FBI
                                                                                   Printed nameandtitle
Swo!m to beforeme and signed in my presence.

                                                                  U                            1
Date:a ss/...                                                                     W o
                                                                                    Judge'
                                                                                         ssignature
City and state:               Fod Lauderdale, Floridp                 Lurana S.snow,United States M agistrateJudge
                                                                                   Printednameand title
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                   A FFID AV IT IN SU PPO R T O F CR IM INA L C O M PLA IN T



    YouraffiantisLee Bieber, a Detective with the Plantation Police Departm entand iscurrently

    assignedtotheFederalBureauoflnvestigation(FBI)ChildExploitationTaskForce, who,being
   duly sworn,deposesand statesasfollows:

               1am aDetectivewith thePlantation PoliceDepartmentandhave been so em ployed

 since2002.Iam currentlyassignedtotheFederalBureauoflnvestigation(FBl)ChildExploitation
TaskForce,M iam iField Office,whichtargetsindividualsinvolved intheon line sexualexploitation
                                                                        -



ofchildren.Aspal4ofmy duties,1investigate crim esinvolving the sexualexploitation ofminors

including minor sex trafficking,child pornography, and enticem entviolations. 1 have received

training on theproperinvestigativeteclmiquesfortheseviolations, includingtheuseofsurveillance

techniques,undercoveractivities,and theapplicationand execution ofarrestand search warrants. I

haveconducted andassistedinnum erouschild exploitation investigations, andhaveexecutedsearch

warrantsthathave1edtoseizuresofchildpornographyandundercoveroperationstorecoverjuvenile
viçtim sofchild prostitution.

               1am alsoassignedtotheSouthFloridalnternetCrim esAgainstChildren TaskForce

($11CAC'').TheSouthFloridaICAC ispartofaNationalTaskForce.SouthFloridaICAC investigates
computercrim esrelated to child pornography and crimesrelated to the abuse and exploitation of

children,includingOn-line(lnternet)undercoverinvestigations South Florida ICAC ispartofthe
                                                            .



Broward Sheriff'sOffice Strategic Investigation Division CdSID'') SlD investigates traditional
                                                                .
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 organized crim eandvariousspecialty crim eswithinBroward County and isconnected with several

 area Task Forcesboth Federaland State.

       3.     lam an investigative or law enforcement officer ofthe United States within the

meaningofSection2510(7)ofTitle 18,UnitedStatesCode.Thatis,Iam anofficeroftheUnited
States,who is empowered by law to conduct investigations of and m ake arrests for, offenses

enum erated in Title 18,United StatesCode,Sections2422,2423,2251and 2252, etseq.

       4.     Thisaffidavitisbasedupon my personalknowledgeoftheeventssetforth herein, as

wellas information provided to m e by other law enforcem entpersonneland other sources of

inform ation.Becausethisaftsdavitisbeing subm itted forthelim itedpurposeofsecuringacrim inal

complaint,I have not included evely fact known to m e or other law enforcem ent persormel

concem ing this investigation,Ihave setforth only the facts lbelieve are necessary to establish

probablecausetobelievethatVINH NGUYEN hascomm itted aviolation ofTitle 18, UnitedStates

Code,Sections2252(a)(4)(B)and (b)(2).


                       BACK GRO UND OF TH E INVESTIGATION

              OnSeptember24,2019,thePlantation PolieeDepartm entarrested and chargeda21-
year-oldAsian maleV INH NGUYEN with voyeurism .Theirinvestigation revealedthatNGUYEN

wasusinghiscellularphonetotake videosofan unclothed femalein adressing room . Pursuantto

theirarrestNGUYEN 'Scellularphonewasseized.Thecellularphonewasa Sam stmg Galaxy.

              On October 4,2019,Circuit CourtJudge Tim Bailey signed a search warrant
authorizing law enforcem ent to conducta digitalforensic exam ination on N G U YEN 'S Sam sung

Galaxy A 10 cellularphone.The cellularphone w as subsequently turned overto the FBICom puter


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 AhalysisResponseTeam (CART)toaideintheidentifcationofthesecuritypatternand/orunlock
 thedevice.

              In December of2019,Cellebrite'sAdvanced Serviceswere utilized to bypassthe

 pattem lockandforensicallyextractdata9Om N GUYEN'SSnmsungGalaxy A10ecellularphone. O n

January 2l,2020,youraffiantreviewed the extracted datafrom N GUYEN 'Scellulartelephone.

       8.     Installed applicationson thisdevice included,Snapchat, Kik M essenger,Facebook,

Facebook M essenger,Dropbox,GoogleDrive,and M EGA . A ccountinform ation and contentfor

theseapplicationswerelimited. However, thefollowing Google useraccountswere found on this

device:vnguyennss@ gmail.com,vussnguyen@gmail.com,andnguyenooz@ mymdc.net.
              Afterfurtherinvestigation,itwasdiscoveredthatim ageandvideofilesofyounggirls

involved in sexualadsand orposing in alewd lasciviousm annerwere stored within theM EGA

Downloadsfolderofthefilesystem directoly usingthefollowingpath:/data/media/0/M EGA/M EGA

Dow nloads

       10.    GriffeyeAnalyzewasused to processthese files. Atleast16 videoswereidentified

thatappeared to contain child pornography.Thesevideosare described asfollows:

       File N am e:05.m p4
       M D5:951E650D8124E7718CE5A880864F8D28
       FilePath:/data/media/0/M EGA/M EGA Downloads/M P4/05.m p4
       Description:'l'hisvideo tsle isapproxilnately 38 seconds in length and depictsa yotlng
       femalechildapproxim ately 10-13yearsofagelying onherback with herlegsspread apart.
       Thechild isnaked from thewaistdown. Sheistouching hervaginain a sexualmanner.

       File N am e:2 m m m 1.m p4
       M D5:DB344AEA73413A346EC00CADCFA2A66D
       FilePath:/data/media/0/M EGA/M EGA Downloads/M p4/z mmm 1.m p4
       Description:Thisvideofileisapproximately8minutesand51seconzsinlengthanddepicts
       a young fem ale child approxim ately 10-13 years of age. The child rem oves her clothes.
       Exposeshervaginaandantlsinasexualmannerandinsertsandobjectintoheranus.

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       FileNam e:3e62c51f781369fa9bf17e59 9995738.m p4
       M D 5:3E62C 51F181369FA 98F17E5F09995738
       FilePath:/data/media/0/M EGA/M EGA
       Dou loads/M P4/3e62c51f181369fa9bS 7e59 9995738.m p4
       Description:'l'hisvideo fileisapproxim ately 1m inuteand 7 secondsin length and depictsa
       prepubescentfemalechild approximately 8-10 yearsofage lyingon herbackwithherlegs
       spread and raised.An adultmaleispenetratingtheanusoftheehild with hiserectpenis.

       FileName:3aRf1346b89bd5a4aa9f64378d975e(18-l9).mp4
       M D5:3AF1FF83468898D5A4AA9F64378D975E
       File Path:/data/m edia/0/M EGA/M EG A
       Downloads/M P4/3aRfl346b89bd5a4aa9f64378d975e(18-19).mp4
       Description:Thisvideotsleisapproximately 1m inuteand43secondsin length anddepicts
       a young female child approxilnately 10-13 years ofage lying on her back with herlegs
       spreadagart.Thechildisnakedt-
                                   iom thewaistdown.An adtlltmaleispenetratingthe
       vaginaotthechildw ith hiserectpenis.Thechildappearsemotionally distressedduringthe
       sextlalcncounter.

       FileName:6f4edb42cbf596ed5a2117b25e15366b(18-23).mp4
       M D 5:6F4ED842C8 F596ED 5A 2117825E 153668
       FilePath:/data/media/0/M EGA/M EGA
       Down1oads/MP4/6f4edb42cbf596ed5a2117b25e15366b(18-23).mp4
       Description:Thisvideofileisapproximately 1m inuteand22 secondsinlength and depicts
       aprepubescentfemalechild approximately 8-l()yearsofageperforming sexualactswith an
       adtlltm ale.The sexualactsinclude oraland vaginalpenetration w ith the adultm ale'serect
       penis.

       File N am e:9.m p4
       M D5:E9FE58CE40C55C6D0834575F8539D9A8
       FilePath:/data/media/0/M EGA/M EGA Downloads/M p4/g.mp4
       Description:Thisvideo fqle isapproxim ately 53 seconds in length and depictsa young.
       female child approxilnately 10-l3yearsofagewho isnaked and kneeling in frontofan
       adultm ale who isstanding up.The adultm ale ispenetrating the mouth ofthechild with
       hiserectpenis.

       File N am e:A nalDildo.m p4
       M D 5:E8FD lA ECD 485282EBE384EBB2C0106FD
       FilePath:/data/media/0/M EGA/M EGA Downloads/M p4/AnalDildo.mp4
       Description:Thisvideo file isapproxim ately 1m inute and 17 secondsin length and
       depicts a prepubescentfem ale child under5 years ofage lying on herback. An object
       shaped like an erectpenisispenetrating theanusofthechild.


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        FileNam e:14boy firstsex 15yo girl.mp4
        M D 5:A DA 5185E801A 5CD D FD E55B79321EFD 74
        FilePath:/data/media/0/M EGA/M EGA Downloads/M p4/l4boy firstsex 15yo girl.m p4
        Description:Thisvideo fileisapproximately4m inutesand 8secondsin length and depicts
        a young male and young fem ale child engaged in sexualintercourse.Both children are
        approxim ately 12 to 15 yearsofage.

        FileNam e:372512 chunk 3.mp4
        MD5:38303A0A2:137F15DD66C99542F7F254
        FilePath:/data/media/0/M EGA/M EGA Downloads/M P4/372512 chunk 3.134p4
        Description:Thisvideofileisapproximately 14 minutesand 59-seconJiin length and
        depictsapregubescentfemalechildapproximately8-10yearsofageexposinghergenitalsin
        a lewd lascivlousm anner.


       11.     Therem aining 7 video filesdepid young girlsapproxim ately 10 to 15 yearsofage

m asturbating,perform ing sexualactswith adultmales,andexposingtheirvaginalandoranalareain

a lewd/lasciviousmnnner.

               Additionally,instructionson how to threaten orscareyoung fem ale victim sonline

werefound inaM EGA Downloadssubfoldernam ed lsllow togetherattention''.lnstrudionsinclude,

butisnotlim ited to,the follow ing:

             * kisetting up a fake Kik with herpicsand m essaging heristhe bestway to gether
               attentionorusepicsasyourdisplaypicture,sendingherclothedpicsorherwillalso
               getattention.''
             * itM essageherwith an insult,message herfrom a fake accountofher,m essage her
               with yourprotllepicasoneofherpics,sendheryourfavouritephotos, rapetlzreats,
               abusivelanguage,som ething creativesuch asçil've found am atch''and sendhera
               Pic ofher.''
             * $$1fyou send herherphotosfrom yourlaptop screen using yourphoneitllscareher
               m ore,E.G .''
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               Basedonmytraining andexperience,Iknow theseteclmiquesarecomm onlyusedby

 individualsw ho extortchild victim s forsexually explicitim agesand videos.

        14.    On Februaly 14,2020,a Federal search warrant was signed by United States

 M agistrate Judge authorizing the search ofGoogle accountsbearing useridentification addresses

 vnguyennss@ gmail.com andvussncuyen@ gmail.com.ThesearchwarrantwasservedonFebruary
 17,2020.Google provided a response to the search warrantpertaining to Google accounts on

 February 24,2020.

        15. Accordingtotheprovideddatarecords,Googleuseraccotmtvnguyennss@ gmail.com
wascreatedonJanuary 17,2019.Theaccountisstillactive.A SamsungGalaxyA10(Mode1:SM -
A102U),anAppleiphone7,andanAppleiphone1lwereusedtoaccessthisaccount.Googlemap
searcheswereconductedfrom thisaccountusingVI'NH SANH NGUYEN'Sresidentialaddress(5531
 SW 8ST,M argate,FL 33068)asboththestartinglocation anddestinationonmultipledates.
        16.    A word docum entnamedI'FLVINHRESUM E''wasstored within theGoogleDrive

folder ofuser accountvnguyennss@ gmail.com.The documentisa resume forVINH SANH
N GUYEN whichlistshishom eaddress5531SW 8 ST,M argate,FL 33068andcontad information

in the header.There isno otherdata contained in the accountindicating then anyone otherthan

N G UY EN usesthe account.

       17. Thirteen(13)imageandvideofilesofyoungchildrenandinfantsinvolvedinsexual
actsand orposing in lewd lasciviousmannerwere stored within the Google Drive folderofuser

accountvnguyennss@ gmail.com.Thesefilesaredescribedasfollows:




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           FileNam e:lMG 8805.
                             jpg
           M D5:d47a844a2%5442742aec5c9600c0fa82
           Description:Thisim age file depictsa maleinfantlying on hisback with legsspread
           apart.Hispenisand anusareexposed.Thereappearsto besemen ontheinfant'sgenital
           and analarea.An adultm ale'spenisistouching the child'sanalarea.

           FileName:IM G-8802.jpg
           M D5:b5edd6R fa5d007d5d9el S 916c2ca4
           Description:Thisimajefiledepictsamaleinfantlyingonhisbackwithlegsspread
           apart.The infant'spenlsisexposed and isthe focusofthe im age.

           FileNam e:20130526 155006.3gp
           MD5:6c5b0b37ca616740152d380ba67e4017
           Description:Thisvideo fileisapproxim ately 61secondsinlength anddepictsaninfant
           being oralpenetrated with an adultmale'serectpenis.

           FileNam e:6yo fuck to short.avi
           M D5:926d9024b6b4f45 38b900fe1809052f
           Description:Thisvideo fileisapproximately 17 secondsin length anddepictsayoung
           fem alechildapproximately 6-8yearsofage on herhandsand kneeswith herbuttocks
           raised.Anadultmaleispenetratingtheanusorvaginaofthechild with hiserectpenis.

           FileNam e:loyo girlsdad m usturbateon them .avi
           M D5:4b621d4cc09 2c4ec72789c1be0e6e48
           Description:Thisvideo fileisapproximately 2m inutesand 36 secondsin length and
           depictsaprepubescentfelnalechild approxim ately 8-10yearsofageperforming sexual
           actswith an adultmale.The sexualactsincludeoralpenetration with the adultlnale's
           crectpenis.The adultm alethen m asturbatesoverthe child w hile she islying down w ith
           herlegsspreadapart.Theadultmaleejaculatesonthechild'sbody.
           FileName:(pthc)Babies,ToddlersLotsofCum.avi
           M D5:59dd7073e314a91 048e52d62c69cfd5
           Description:This video file isapproximately 8 m inutes in length and depictsadult
           malesperform ing sexualactson infantsand toddlersto include,butisnotlimited to,
           digitalpenetration,andmasturbation.Theadultmalesejaculateonthebodiesofthese
          children.Based on data contained with the account,this file appeared to have been
          added to the accounton February 4,2020.
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                 Theremainingsix(6)image/videofilesdepictadultmalesperformingsexualactson
 prepubescentchildren /infants.These l51esareconsistentwith thef5leslisted above.



                                          CO NC LU SIO N

                  Based ontheaforem entionedfactualinform ation,1respectfully subm itthatthereis

    probable cause to supportthe arrestof V IN H N G U YEN ,for possession of visualdepictions of

    m inorsengaged in sexually explicitconduct,in violation ofTitle 18,United StatesCode,Section

    2252(a)(4)(B)and(b)(2).
    FURTH ER YOUR A FFIAN TSA YE TH NA UGH T
                                                                      <




                                                    Lee Bieber
                                                    TFO FederalBureau ofInvestigation


                                              r e

    sworntoandsubscribedbeforemethis X 'S dayofFebruary,2020.



y    ..                        *   .

          NA S.SNOW
    UN ITED STA TES M AG ISTR ATE JU D G E




                                                    8
